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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 WILLIAM T. JARRARD, JR.
             Plaintiff
 v.                                       CIVIL ACTION NO.
                                          1:08cv3042-TWT
 DYCOM INDUSTRIES, INC., et al
             Defendants


                                   ORDER

      The parties' Consent Motion to Dismiss Dycom Industries, Inc., Without

Prejudice [15] is before the Court for determination. The Court GRANTS the

Motion for Dismissal of Dycom Industries, Inc., Without Prejudice.

      SO ORDERED, this 18th day November, 2008.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     UNITED STATES DISTRICT JUDGE
